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                                CERTIFICATE OF SERVICE

        I, Dennis A. Meloro, being duly sworn according to law, deposes and says that I am
employed by Greenberg Traurig, LLP, which is counsel for Hilco Merchant Resources, LLC and
Gordon Brothers Retail Partners, LLC, and on the 16th day of February 2016, I caused copies of
the foregoing Notice of Appearance and Request for Service of Papers to be served upon the
attached 2002 Service List via First Class, United States Mail.




Dated: February 16, 2016                     /s/ Dennis A. Meloro
                                             Dennis A. Meloro (Bar No. 4435)




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